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                                                S TAT E M E N T O F R E L AT E D C A S E S
                                          I N F O R M AT I O N R E Q U I R E D B Y L B R 1 0 1 5 - 2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
    against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
    copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
    corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
    and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
    assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
    included in Schedule A that was filed with any such prior proceedlng(s).)
Prior Filings for debtor Juan Rene Mejia Case Number 14-54516, Chapter 7 filed in California Northern Bankruptcy Court on
11/06/2014, Dismissed for Failure to File Information on 01/06/2015; Case Number 18-11454, Chapter 7 filed in California
Centra! Bankruptcy on 06/07/2018, Dismissed for Failure to File Information on 06/25/2018. Case Number 18-11682, Chapter
7 filed In California Central Bankruptcy on 0703/2018. Dismissed for Failure to File Information on 07/18/2018.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
    Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
    debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
    debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
    complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
    and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
    any real property included in Schedule A that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
     previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
    of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
    of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
    or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
    such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
    still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
    that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
    been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
    proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
    pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
    that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct
Executed at Rosemead, CA , California.

Date: August 04,2018



                                                                                                     Signature of Joint Debtor




                 This form is mandatory. It has been approved for use In the United States Bankruptcy Court for the Central District of California.

December 2012                                                                                 F 1 0 1 5 - 2 . 1 . S T M T. R E L AT E D . C A S E S
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 Fill in this information to identify your case;

 Debtor 1                   Juan Rene Mejia
                            Fcr^l Name                             MiMla   N«na                          Last NaiTie


 Debtor 2
 (Spouse it. Ming)          Ftrsi           Na(ne           MrOdie             Nama            Last          Name


 United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (rf known)                                                                                                                                                       □ Checkif this is an
                                                                                                                                                                     amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

               Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

       □ Married
       H Not married

2. During the last 3 years, have you lived anywhere other than where you five now?

       I     No
       □ Yes. List all of the places you lived in the last 3 years. Do not Include where you live now.

           Debtor      1    Prior        Address:           Dates          Debtor         1    Debtor         2    Prior        Address:                                 Dates Debtor 2
                                                                        lived there                                                                                      lived there


3. Within the last S years, did you ever live with a spouse or legal equivalent In a community property state or territory? {Community property
sfafesandfemfon'eslncludeArizona. California. Idaho, Louisiana, Nevada, New Mexico. Puerto Rico, Texas, Washington and Wisconsin.)

       ■     No
       □ Yes. Make sure you fill out Schedule H: Your Codeblors (Official Form 106H>,

              I Explain the Sources of Your Income
4. Did you have any Income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and ail businesses, including part-time activities.
       If you are filing a joint case and you have Income that you receive together, list it only once under Debtor 1.

       □     No
       I Yes. Fill in the details.

                                                         Debtor     1                                                                     Debtor?

                                                         Sources of Income                         Gross Income                           Sources of Income               Gross   income

                                                         Check all that apply.                     (before deductions and                 Check all that apply.           (before deductions
                                                                                                   exclusions)                                                            and exclusions)

 From January 1 of current year until                     ■ Wages, commissions,                                    $11,800.00             □ Wages, commissions,
 the date you filed for bankruptcy:                                                                                                       bonuses, tips
                                                         bonuses, tips

                                                         □ Operating a business                                                           □ Operating a business




O f fi c i a l F o r m 1 0 7 S t a t e m e n t o f F i n a n c i a l A f f a i r s f o r I n d i v i d u a l s F i l i n g f o r B a n k r u p t c y                                       page 1

Software Ccppghi (c) 199&-201S Best Case. LLC • www e>estcase.co<Ti                                                                                                           Best Case Bankruptcy
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Debtor 1 Juan Rene Mejia                                                                                             Case number {H known)




                                                                                                                           Debtor 2

                                                      Sources of income                     Gross Income                   Sources of Income            Gross income
                                                      Check all that apply.                 (before deductions and         Check all that apply.        0>efore deductions
                                                                                            exclusions)                                                 and exclusions)

For last calendar year:                               ■ Wages, commissions,                            $20,500.00          □ Wages, commissions,
(January 1 to December 31,2017)                       bonuses, tips                                                        bonuses, tips

                                                      □ Operating a business                                               □ Operating a business

For the calendar year before that:                    ■ Wages, commissions,                            $20,500.00          □ Wages, commissions,
(January 1 to December 31,2016)                       bonuses, tips                                                        bonuses, tips

                                                      □ Operating a business                                               □ Operating a business


5. Did you receive any other Income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
        and other public benefit payments; pensions; rental income; interest; dividends; money collected ftom lawsuits; royalties; and gambling and lottery
        winnings, if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

        List each source and the gross Income from each source separately. Do not Include income that you listed in line 4.

                 No

                 Yes. Fill in the details.


                                                     Debtor 1                                                              Debtor 2
                                                     Sources of Income                      Gross Income from              Sources of income            <$ross Income
                                                     D e s c r i b e b e l o w.             each source                    D e s c r i b e b e l o w.   (before deductions
                                                                                            (before deductions and                                      and exclusions)
                                                                                            exclusions)

                  List Certain Payments You Made Before You Filed for Bankruptcy

        Are either Debtor 1's or Debtor 2's debts primarily consumer debts?
        □ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
                        individual primarily for a personal, family, or household purpose."

                        During the 90 days before you filed for bankmptcy, did you pay any creditor a total of $6,425* or more?
                         □ No. Go to line 7.
                         □ Yes Ust below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

         ■ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                        During the 90 days before you filed for bankmptcy, did you pay any creditor a total of $600 or more?

                         ■ No. Go to line 7.
                               Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                      include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                      attomey for this bankmptcy case.


          C r e d i t o r ' s N a m e a n d A d d r e s s D a t e s o f p a y m e n t To t a l a m o u n t A m o u n t y o u W a s t h i s p a y t n e n t f o r. . .
                                                                                                               paid            still             owe    I




O f fi c i a l   Form    107    Statement      of   Financial       Affairs       for   Individuals   Filing   for    Bankruptcy                                          page 2

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Debtor 1 Juan Rene Mejia                                                                                           Case number {Hknown)




7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders Indude your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner corporalions
    of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, induding one for
    a business you operate as a sole proprietor. 11 U.S.C. § 101. Indude payments for domestic support obligations, such as child support and
    alimony.

        ■        No
        □ Yes. List all payments to an insider.
         I n s i d e r ' s N a m e a n d A d d r e s s D a t e s o f p a y m e n t To t a l a m o u n t A m o u n t y o u R e a s o n f o r t j i l s p a y m e n t
                                                                                                             paid           still         owe        i
8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
        Insider?
        Indude payments on debts guaranteed or cosigned by an Insider.

        ■        No
        □ Yes. List all payments to an Insider
         Insider's Name and Address Dates of payment Total amount Amount you Reason for t|iis payment
                                                                                                             paid still owe Indude credilpr's name

                  Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, induding personal injury cases, small dalms actions, divorces, collecb'on suits, patemity actions, support or custody
    modifications, and contract disputes.



        □ Yes. Fill in the details.
         Case title                                                   Nature of the case Court or agency                                  Status of the case
         Case number


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

        ■ No. Go to line 11.
        □ Yes. Fill in the information below.
         Creditor Name and Address                                    Describe the Property

                                                                      Explain what happened

11. Within 90 days trefore you filed for bankruptcy, did any creditor. Including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
        ■ No
        □ Yes. Fill in the details.

          Creditor Name and Address                                   Describe the action the creditor took                       Date action was
                                                                                                                                  taken


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

        ■        No
        □        Ye s

                  List Certain Gifts and Contributions


13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?


        □ Yes. Fill in the details for each gifL
          Gifts with a total value of more than $600                       Describe the gifts                                     Dates you gave
          per person                                                                                                              the gifts

          P e r s o n t o W h o m Yo u G a v e t h e G i f t a n d
          Address:



O f fi c i a l   Form    107    Statement         of   Financial      Affairs   for   Individuals   Filing   for    Bankruptcy                                        pages
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 Debtor 1 Juan Rene Meiia                                                                                   Case number (nknown)




14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    ■ No
      □ Yes. Fill In the details for each gift or contribution.
       Gifts or contributions to charities that total Describe what you contributed                                            Dates you
       more than $600                                                                                                          contributed

       Charit/s Name
       Address (Number, Street, City, State and ZIP Code)

     QH List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      ■    No
      □ Yes. Fill In the details.

       Describe the property you lost and Describe any Insurance coverage for the loss                                         Date of your       Value of property
       how the loss occurred Include the amount that insurance has paid. List pending                                          loss                               lost

                                                             Insurance claims on line 33 of Schedule A/B: Pmperty.

              List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.



      □ Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                    Date payment               Amount of
       Address                                                        transferred                                              or transfer was              payment
       Email or website address                                                                                                made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your liehalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.



      □ Yes. Rll in the details.

       Person Who Was Paid                                            Description and value of any property                    Date payment               Amount of
       Address                                                        transferred                                              or transfer was              payment
                                                                                                                               made


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred In the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.


      □ Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or Date transfer was
       Address                                                        property transferred                      payments received or debts made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)

      □ Yes. Fill In the details.

       Name of trust                                                  Description and value of the property transferred                          [Date Transfer was
                                                                                                                                                 [made




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy

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 Debtor 1 Juan Rene Mejia                                                                                            Case number (^Anown)




                     List of Certain Financial Accounts, instruments. Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your beneftt, closed,
        sold, moved, or transferred?
         include checking, savings, money markeL or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
         houses, pension funds, cooperatives, associations, and other financial institutions.
         ■ No
         □ Yes. Fill in the details.
          Name of Financial Institution and Last 4 digits of                                           Type of account or         Date account was             Last balance
          Address (Number, Street, City, State and ZIP account number                                  instrument                 closed, sold,            before closing or
          Code)                                                                                                                   moved, or                            transfer
                                                                                                                                 transferred


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
         cash, or other valuables?



         □ Yes. Fill in the details.
           Name of Financial Institution                                      Who else had access to K?              Describe the contents                  Do you still
          Address (Number, Street, City, State and ZIP Code)                  Address (Number, Sbeet City,                                                  have it?
                                                                              Slate and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


         □ Yes. Fill in the details.
          Name of Storage Facility                                            Who else has or had access             Describe the contents                  Do you still
          Address (Number, Street, City, State and ZIP Code)                  to It?                                                                        have it?
                                                                              Address (Number, Street, City,
                                                                              State and ZIP Code)


                     Identify Prop   r Yo u M o i d o r C o n t r o l f o r S o m e o n e E l s e


23. Do you hold or control any property that someone else owns? include any property you tiorrowed from, are storing for, or hold in trust
         for someone.




          □ Yes. Fill in the details.
           Owner's Name                                                       Where Is the property?                 Describe the property
           Address (Number, Street, City, State and ZIP Code)                 (Number, Street, City, State and ZIP
                                                                              Code)

                     Give Details About Environmental Information


For the purpose of Part 10, the following definitions apply:

H Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
         toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
         regulations controlling the cleanup of these substances, wastes, or material.
H Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
         to own, operate, or utilize it, including disposal sites.
■ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminanL or similar term.

Report ail notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


          □ Yes. Fill in the details.
           Name of site                                                       G o v e r n m e n t a l u n i t E n v i r o n m e n t a l l a w, i f y o u    Date of notice
           Address (Number, street, CHy, State and ZIP Code)                  Address (Number, Street, CHy, State and know it
                                                                              ZIP Code)




O f fi c i a l F o r m 1 0 7                                Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor 1 Juan Rene Mejia                                                                                      Case number (^totown)




25. Have you notified any governmental unit of any release of liazardous material?



        □ Yes. Flllln the details.
         Name of site                                                G o v e r n m e n t a l u n i t E n v i r o n m e n t a l l a w, I f y o u   Date of notice
         Address (Number, street, CHy, State and ZIP Code)           Address (Number, street. City, Slate and know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



        □ Yes. Fill In the details.
         CaseTHIe                                                    Court or agency                          Nature of the case                  Status of the
         Case Number                                                 Name
                                                                     Address (Number, street. City,
                                                                     State and ZIP Code)


MBiMM Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 □ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 □ A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 □ A partner in a partnership
                 □ An officer, director, or managing executive of a corporation
                 □ An owner of at least 5% of the voting or equity securities of a corporation
        H No. None of the above applies. Go to Part 12.
        □ Yes. Check all that apply above and fill In the details below for each business.
                                                                  Employer
          Business Name Describe the nature of the business Employer
          Business Name                                                      Identificationnum^r
                                                                      Identification        num^r
         Address                                                  Do not include Social Security number or ITIN.
         (Numbar, Stroot, City, Stata and ZIP Coda)             Name of accountant or bookkeeper
                                                                                                                   Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        Institutions, creditors, or other parties.

        ■ No
        □ Yes. Fill in the details below.
          Name                            Date                       Issued
          Address
          (Numbor, Straat City, Slate and ZIP Coda)

■ariiaw Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud In connection
with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152,>341(,4519, and 3571.


 Juan ReMMenk;^                                                           Signature of Debtor 2

 Slgnatui^of De^r 1
 Date August 04,2018
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)7
■ No
□ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
■ no
□ Yes. Name of Person Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Oflldal Form 119).
O f fi c i a l   Form   107   Statement        of     Financial Affairs   for    Individuals   Filing   for   Bantwuptcy

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Fill in this Intdrmation to Identify your case:                                                      Chedt one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
Debtor 1 Juan Rene Mejia
Debtor 2                                                                                                ® 1. There Is no presumpbon of abuse
(Spouse, ff filing)
                                                                                                        D 2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the: Central District of California
                                                                                                              applies will be made under Chapter 7 Means Tesf
                                                                                                               Calculatior) (Offidai Form 122A-2).
Case number
(i1 known)                                                                                              □ 3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                        □ Checl< if this is an amended filing
O f fi c i a l F o r m 1 2 2 A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/15

Be as complete and accurate as possible, if two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form, include the lino number to which the additional information applies. On the top of any additional pages, write your name and
case number (if kttown). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Srafemenr of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Parti:            Calculate Your Current Monthly Income

  1. What Is your marital and filing status? Check one only.
        I Not married. Pill out Column A. lines 2-11.
        □ Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-11.
        □ Married and your spouse Is NOT Filing with you. You and your spouse are:
          □ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
            D Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
               living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C§707(b)(7XB).
    Fill in the average monthly Income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    lOl(lOA). For example. If you are fliing on SeptemberlS. the 6-month period vrould be March 1 through August 31. If the amount of your monthly mcome varied during
    the 6 months, add the income for ail 6 months and divide the total by 6. Fiit in the resuil. Do notirrclude any income amount more than once. For example, if both
    spouses own the same rental properly, put the income from that property in one column only. If you have nothing to report for any Dne. write SO in the space.
                                                                                                         (^lumn A                 Column B
                                                                                                         Debtor 1                 Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
                                                                                                                   1,600.00
      payroll deductions).
  3. Alimony and maintenance payments. Do not Include payments from a spouse if
                                                                                                                           0.00   $
        Column B Is filled in.
  4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents. Including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only If Column B Is not
                                                                                                                           0.00
      filled in. Do not Include payments you listed on line 3.
  5. Net income from operating a business, profession, or farm
                                                                                   Debtor 1

        Gross receipts <t>efore all deductions) ^                               0.00

                                                                                0.00
        Ordinary and necessary operating expenses
        Net monthly income from a business, profession, or farm S               0.00 Copy here •>$                         0.00

  6. Net Income from rental and other real property
                                                                                   Debtor 1

                                                                                0.00
        Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                       -$     0.00
                                                                                0.00    Copy here -> S                     0.00
        Net monthly income from rental or other real property
                                                                                                         S                 0.00
        Interest, dividends, and royalties




O f fi c i a l F o r m 1 2 2 A - 1 C h a p t e r 7 S t a t e m e n t o f Y o u r C u r r e n t M o n t h l y I n c o m e                                         page 1
Software Cop)ng>il (c) 1996-2018 Best Case. LLC-www.Malcase com                                                                                       Best Case Bankruptcy
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Debtor 1 Juan Rene Mejia                                                                                Case number {it knomt)




                                                                                                      ColutimA                   Colutm B
                                                                                                      Debtor 1                   Debtor 2 or j
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                                                                   $
      Do not enter the amount if you contend that the amount received was a benefit under
      the Sodai Security Act. Instead, list it here:
          For                            you                         JS             Q.QQ
          For                   your            spouse                    $
  9. Pension or retirement Income. Do not indude any amount received that was a
      benefit under the Sodal Security Act.
  10. Income from all other sources not listed atwve. Spedfy the source and amount
      Do not indude any benefits received under the Sodai Security Act or payments
      received as a victim of a war crime, a crime against humanity, or intemational or
      domestio terrorism, if necessary, list other sources on a separate page and put the
      t o t a l b e l o w.




                     Total amounts from separate pages, if any.

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                 $ 1,600.00                                               1,600.00

                                                                                                                                              Total current monthly
                                                                                                                                              incomo

                  Determine Whether the Means Test Applies to You

  12. Calculate your ourent monthly Income for the year. Follow these steps:

       12a. Copy your total current monthly Income from line 11                                               Copy line 11 heresy                      1,600.00


               Multiply by 12 (the number of months in a year)
       12b. The result is your annual Income for this part of the form                                                                  12b. s 19,200.00

  13. Calculate the median family Income that applies to you. Follow these steps:

       Fill in the state in which you live. CA

       Fill in the number of people in your household. | 2 |
       Fill in the median family income for your state and size of household. 13. S 73,162.00
      To find a list of applicable median Income amounts, go online using the ink spedfi^ in ttie separate insbuctions
       for this fbnn. This list may also be available at the bankruptcy derk's office.

  14. How do the lines compare?

       14a. B Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                             Go to Part 3.
       14b. □ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by f^rm 122A-2.
                             Go to Part 3 and fill out Form 122A-2.

                   Sign Below
               By signing hepu I dedace^nder penalty of perjury that the Information on this statement and in any attachments is true and corned.




         Date Aiffiust04.
                    MM/DD         /YYYY

                if you checked line 14a, do NOT fiii out or file Form 122A-2.
                if you checked line 14b, fill out Form 122A-2 and file it with this form.




O fl i d a i F o r m 1 2 2 A - 1 C h a p t e r 7 S t a t e m e n t o f Yo u r C u r r e n t M o n t h l y I n c o m e                                        page 2
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Fill In this Information to identify your case:

Debtor 1                       Juan Rene Mejta
                               Fir^t Name                           Name           Last        Name

Debtor 2
(^wuse if. filtrvg)            First Name                  Middle          Name       La$t      Name



United States Bankruptcy Court for the:                 CENTRAL DISTRICT OF CALIFORNIA


Case number
(if known]                                                                                                                         □ Check if this Is an
                                                                                                                                      amended filing




O f fi c i a l F o r m 1 0 6 D e c

Declaration About an Individual Debtor's Schedules i^is
if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
years, or both. IB U.S.C.§§ 152,1341,1519, and 3571.



                   I Sign Below

          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          ■      No

          □           Ye s .         Name          of       person                Attach         San*rupfcyPef/f/'on        Preparer's/Vof;ce.
                                                                                                             Dec/araf/on, and Signalure (Official Form 119)



        thattheyaret^an^^rect.
        Under penally of perjury, I declare that I have read the summary and schedules filed with this declaration and




                 Juarf^nd'hWfS                            Signature                       of    Debtor          2
                 Sigr^re of D^or 1
                         August                    04.                2018                     Date




O f fi c i a l    Form         106Dec       Declaration    About       an     Individual       Debtor's   Schedules

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Attorney or Party Name, Address, Telephone S FAX Nos., State Bar No. &                   F O R C O U R T U S E O N LY
Email Address

Randolph R. Ramirez, Esq. SBN2S7928
4108     Rosemead    Blvd.

Rosemead, CA 91770
626.283.1699 Fax: 626.288.1695
SBN297928       CA

rand0Iph.ramirez@y0urle9alneeds.net




n Debtor(s) appearing without an attorney
□ Attorney for De6for(s)
                                                       U N I T E D S TAT E S B A N K R U P T C Y C O U R T
                                                        CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                         CASE NO.:
            Juan Rene Mejia                                                              CHAPTER: 7


                                                                                                      DECLARATION BY DEBTOR(S)
                                                                                          AS TO WHETHER INCOME WAS RECEIVED
                                                                                           F R O M A N E M P L O Y E R W I T H I N 6 0 D AY S O F
                                                                                                               T H E P E T I T I O N D AT E
                                                                                                           ri1 U.S.C. §521(a)(1)(B)(iv)l

                                                                      Debtorts).                                     (No hearing Required!


Debtor(s) provides the following declaralion(s) as to whether income was received from an employer within 60 days of the
Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1 )(B)(iv);

Declaration of Debtor 1



1.0 I am Debtor 1 in this case, and I declare under penalty of perjury that the following information is true and correct:

          During the 60-day period before the Petition Date (Check only ONE box below):

          [/] I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
              employment income I received from my employer during this 60-day period. (If the Debtor's social security
              number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
            numb8r(s) before filing this declaration.)


          □ I was not paid by an employer because I was either self-employed only, or not employed.

Date: August 14,2018 Juan Rene Mejia /s/Juan Rene Mejla—X-
                                                              Printed name of Debtor 1 Signature of Debtor 1




                     This form is mandalory. I( has been approved for use in U>e Uniled Stales Bankruptcy Court for the Central District of California.
December                         2015                      Page                      1                 F                 1 0 0 2 - 1 . E M P. I N C O M E . D E C
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Declaration of Debtor 2 (Joint Debtor) (if applicable'


2. □ I am Debtor 2 In this case, and I declare under penalty of perjury that the following information Is true and correct:

        During the 60-day period before the Petition Date (Check only ONE box below):

        □ I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
          employment income I received from my employer during this 60-day period. (If the Debtor's social security
          number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
          number(s) before filing this declaration.)

        □ i was not paid by an empioyer because I was either self-employed only, or not employed.

Date:
                                                         Printed name of Debtor 2 Signature of Debtor 2




                 This form is mandatory. It has been approved for use in the United States Banknjptcy Court for the Central District of California.
December20i5                              Page                         2                   F1002-1                             . E M P. I N C O M E . D E C
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Fill In this information to identify your case:

Debtor 1 Juan Rene Mejia
                                Firsi               Name              UdaMName              laslName

Debtor 2
(SDouself,                 fi i c n g l   fi r s l N a m e   Middle      Name        Last      Name

United States Bankruptcy Court for tfie: CENTRAL DiSTRiCT OF CALiFORNiA

Case number
(If known)                                                                                                                                □ Ctieck if this is an
                                                                                                                                             amended filing




O f fi c i a l F o r m 1 0 8
Statement of Intention for Individuals Filing Under Chapter 7 12/15
If you are an Individual fiiing under chapter 7, you must flil out this form if:
I creditors have claims secured by your property, or
I you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
                on the form


if two married people are filing together in a Joint case, both are equally responsible for supplying correct information. Both debtors must
                sign and dale the form.

Be as complete and accurate as possible. If more space Is needed, attach a separate sheet to this form. On the lop of any additional pages,
                write your name and case number (If known).

IsSBW List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   i n f o r m a t i o n b e l o w.
    Identify the creditor and the property that Is collateral What do you Intend to do with the property that Did you claim the property
                                                                                secures         a       debt?          as        exempt   on       Schedule         C?

    Creditor's                                                                   □ Surrender the property.                                □ No
    n a m e :                                                                    □ Retain the property and redeem IL
                                                                                 D Retain the property and enter into a                   □ Ye s
    Description of                                                                  Reaffirmalion Agreemenl.
    property                                                                     □ Retain the property and [explain]:
    securing debt:


    Creditor's                                                                   □ Surrender the property.                                □ No
    n a m e :                                                                    □ Retain the property and redeem it.
                                                                                 □ Retain the property and enter into a                   □ Ye s
    Description of                                                                  ReafTirmation Agreament
    property                                                                     □ Retain the property and [expiainj:
    securing debt:


    Creditor's                                                                   □ Surrender the property.                                □ No
    n a m e :                                                                    □ Retain the property and redeem it.
                                                                                 D Retain the property ar>d enter into a                  □ Ye s
    Description of                                                                  ReaKrmalion Agraemeni.
    property                                                                     □ Retain the property and [explain]:
    securing debt;


    Creditor's                                                                   □ Surrender the property.                                n No




O f fi c i a l F o r m 1 0 8 S t a t e m e n t o f I n t e n t i o n f o r I n d i v i d u a l s F i l i n g U n d e r C h a p t e r 7                             pagel

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Debtor 1 Juan Rene Meiia                                                                                                 Case number (^inown)


                                                                                            □ Retain the property and redeem It.                     □ Ye s
                                                                                            □ Retain the property and enter Into a
   Description of                                                                              Reaffirmation Agreement.
   property                                                                                 □ Retain the property and (explain):
   securing debt;



             L i s t Yo u r U n e x p i r e d P e r s o n a l P r o p e r t y L e a s e s
For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
In the Information below. Do not list real estate leases. Unexpired leases are leases that are still In effect; the lease period has not yet ended.
You may assume an unexpired personal property lease If the trustee does not assume It. 11 U.S.C. § 365(pM2).

Describe your unexpired personal property teases                                                                                                Will the lease |Pe assumed?

Lessor's name:

Description of leased
Property:                                                                                                                                       □ Ye s

 Lessor's name:
 Description of leased
 Property:                                                                                                                                      □ Ye s

 Lessor's name:

 Description of leased
 Property:                                                                                                                                      □   Ye s


 Lessor's name:

 Description of leased
 Property:                                                                                                                                      □ Ye s

 Lessor's name:

 Description of leased
 Property:                                                                                                                                      □ Ye s


 Lessor's name:

 Description of leased
 Property:                                                                                                                                      □ Ye s

 Lessor's name:

 Description of leased
 Property:                                                                                                                                      □ Ye s

             Sign Below


Under penalty of perjury, I declare that I have Indicated my Intention about any property of my estate that secures a debt and any personal
property that Is ^jer^o an unexpired lease.

                                                                                                           Signature of Debtor 2



       Datd August 04,2018




O f fi c i a l F o r m 1 0 8 S t a t e m e n t o f I n t e n t i o n f o r I n d i v i d u a l s F i l i n g U n d e r C h a p t e r 7                                        page 2

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